Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 1 of 28




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No.

  EDWARD (TED) FREE, an individual,

           Plaintiff,

  v.

  DAVID KRAMER, an individual, and
  COLORADO AGRI PRODUCTS, LLC, a Colorado limited liability company,

           Defendants.


                                COMPLAINT AND JURY DEMAND


           Plaintiff Edward (Ted) Free (“Plaintiff” or “Mr. Free”), by and through his attorneys,

  hereby submits his Complaint and Jury Demand against Defendants David Kramer (“Mr.

  Kramer” or “Defendant Kramer”), and Colorado Agri Products, LLC (“CAP”) (together,

  “Defendants”). In support of his Complaint and Jury Demand, Plaintiff alleges the following.

                                                PARTIES

           1.      Plaintiff is a citizen of the State of Nebraska, and is domiciled in Nebraska.

           2.      Defendant Kramer is and has been at all relevant times, a resident of the State of

  Colorado, residing in Sterling, Colorado.

           3.      Defendant CAP is and has been at all relevant times, a Colorado limited liability

  company with its principal place of business located at 450 Angus Ave., Sterling, Colorado

  80751.
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 2 of 28




          4.      Defendant CAP has two co-owners, Defendant Kramer, and William Bornhoft.

  Both members are citizens of, and domiciled in, the State of Colorado.

          5.      Upon information and belief, William Bornhoft resides in Sterling, Colorado.

                                   JURISDICTION AND VENUE

          6.      This Court has jurisdiction over this dispute pursuant to 28 U.S.C. § 1332.

  Plaintiff is an individual domiciled in Nebraska. Defendant Kramer is an individual domiciled in

  Colorado. Defendant CAP is a limited liability company and takes its citizenship from the

  citizenship of its members. CAP’s members, Mr. Kramer and Mr. Bornhoft, are domiciled in

  Colorado. Therefore, complete diversity of citizenship exists. The amount in controversy,

  exclusive of interest and costs, exceeds the sum or value of $75,000.

          7.      This Court also has original jurisdiction over Plaintiff’s claims pursuant to 28

  U.S.C. § 1331 and 18 U.S.C. § 1962, et. seq. 1 This is an action authorized by and instituted

  under the Racketeer Influenced and Corrupt Organization Act, 18 U.S.C. § 1962, et. seq.

          8.      This Court additionally has jurisdiction over Plaintiff’s state and common law

  claims pursuant to 28 U.S.C. § 1367, as Plaintiff’s state and common law claims arise from the

  same core relationship, parties, and case and controversy as the claim over which this Court has

  original jurisdiction.

          9.      Defendants reside in the judicial district of the United States District Court for the

  District of Colorado. Accordingly, venue is proper in this District pursuant to 28 U.S.C. § 1391.

  1
    Additionally, Plaintiff has initiated the administrative process for his Sarbanes-Oxley
  Whistleblower retaliation claim and intends to amend this Complaint and Jury Demand once the
  Occupational Safety and Health Administration certifies his exhaustion of administrative
  remedies, to include his claim under 18 U.S.C. § 1514A, et seq., over which the Court will also
  have original jurisdiction pursuant to 28 U.S.C. § 1331.


                                                    2
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 3 of 28




                                     GENERAL ALLEGATIONS

         10.      Plaintiff incorporates by reference all allegations set forth above, as if fully set

  forth herein.

                                               Background

         11.      CAP was formed in 2004 in order to create and supply feed product for feed yards

  in eastern Colorado.

         12.      In 2004, Sterling Ethanol, LLC (“SE”) was formed by Defendant Kramer and

  others, having its principal office address in Sterling, Colorado.

         13.      In November 2005, the SE plant was opened and ground its first bushel of corn.

  The main responsibility of CAP was to provide management and oversight for the 50 million

  gallon per year ethanol producer. Included in those responsibilities was to procure corn for the

  plant and market all of the feed products the plant produced to local feed yards.

         14.      In December 2005, CAP expanded and Defendant Kramer and others formed

  Yuma Ethanol, LLC (“YE”). CAP became the manager and sole commodities marketer for YE

  as well.

         15.      In 2006, Bridgeport Ethanol, LLC (“BPE”) was formed by Defendant Kramer and

  others as a Colorado limited liability company, with its principal office in Bridgeport, Nebraska.

  CAP became the sole management company and commodities marketer for BPE.

         16.      As part of its contractual obligation to BPE under the Management Agreement

  entered into between CAP and BPE on September 1, 2007, CAP was to provide BPE with a

  General Manager to oversee all of BPE’s business, plant, purchasing, marketing, and personnel

  operations.



                                                     3
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 4 of 28




            17.   Plaintiff was hired by CAP to serve as BPE’s General Manager in 2007.

            18.   During his time as BPE’s General Manager, Mr. Free worked tirelessly to grow

  BPE into what it is today. Within the first few years of Mr. Free’s employment, Mr. Free had

  built BPE into one of the safest, most reliable, profitable, and efficient ethanol plants in the

  nation.

            19.   Out of the three ethanol plants in the Sterling Ethanol Group portfolio (SE, YE,

  and BPE), BPE was consistently the safest (deemed one of the safest plants in the United States

  by ERI Solutions LLC) and the most profitable.

            20.   Mr. Free’s value to BPE eventually caused CAP co-owner and Manager, William

  Bornhoft, to request Mr. Free to move to Colorado from Nebraska for the benefit of CAP.

            21.   Mr. Free was told that the move would also benefit him because he would

  ultimately take over the management of all three Sterling Ethanol Group plants, and should

  therefore purchase property in a location central to the three plants.

            22.   Mr. Free and his wife purchased property in Haxtun, Colorado, where they had no

  family or friends, in reliance on CAP’s promises that Mr. Free would eventually take over

  management of SE, YE, and BPE.

            23.   Mr. Free and his family would never have purchased real property in Haxtun,

  Colorado without the promise of growth within CAP.

                  Misconduct by Defendant Kramer During Mr. Free’s Employment

            24.   Mr. Free is the reason for BPE’s success, which persisted even despite the

  countless obstacles Mr. Kramer continued to make for BPE and Mr. Free throughout Mr. Free’s

  employment.



                                                    4
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 5 of 28




         25.     Mr. Kramer is 50% owner of CAP, as well as the General Manager, President,

  Board Manager, and just within the past eight months, also the Operations Director, for both SE

  and YE, and the President, Board Manager, and within the past eight months, Operations

  Director, for BPE.

         26.     Mr. Free endured years of abuse, harassment, and intimidation under Mr.

  Kramer’s thumb.

         27.     During Mr. Free’s employment as BPE’s General Manager, Mr. Kramer

  repeatedly attempted to sandbag BPE for the benefit of the SE and YE plants, over which Mr.

  Kramer serves as General Manager.

         28.     As an example, after BPE was given the distinction of being one of the top five

  safest ethanol plants in the nation several years in a row, Mr. Kramer pushed all of the accidents

  that occurred at YE over to SE’s logs in order to manipulate plant records and receive a higher

  safety distinction for YE than BPE.

  Personal Racing Sponsorships for Defendant Kramer from SE, YE, and BPE Vendors

         29.     Additionally, in or around 2018, after suspicions that Defendant Kramer and

  Kramer’s personal car racing entities, Kramer Racing, Sterling Racing Team, Deric Kramer Pro

  Stock Racing Team, American Ethanol Racing Team, and Kramer NHRA ProStock Drag Racing

  Team, were receiving direct kickbacks on overcharged products BPE was being forced to

  purchase by Defendant Kramer for the plant, Mr. Free began comparing vendor pricing for

  products used by BPE.

         30.     Nearly immediately, Mr. Kramer used strong-arm and intimidation tactics against

  Mr. Free to stop him from comparing vendor prices.



                                                   5
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 6 of 28




         31.     In February 2018, Mr. Kramer insisted that Mr. Free attend the Sterling Racing

  Team’s annual end-of-race-season trip in Coronado, California, which was fully financed by

  BPE, YE, and SE vendor and Sterling Racing Team sponsor, Novozymes (including flights,

  hotel rooms, meals, drinks, swag bags, etc.).

         32.     During the trip, Mr. Kramer demanded that Mr. Free join Mr. Kramer and Larry

  Baucke, Chairman of the BPE Board of Managers, for pre-dinner drinks to discuss business. Mr.

  Free’s initial attempt to decline was rebuffed.

         33.     Mr. Free knew that Mr. Kramer’s agenda was to threaten and intimidate Mr. Free

  into stopping his comparison shopping for BPE vendors. Mr. Kramer wanted Mr. Free to blindly

  accept Mr. Kramer’s choices for vendors and suppliers because Mr. Kramer’s car racing team

  sponsorships were directly tied to the size and dollar amounts of annual orders from those

  vendors, which resulted in BPE being substantially overcharged for product that should have

  been competitive in the market.

  Obscene Texts and Photo/Video sent to Mr. Free’s Wife to Silence Mr. Free

         34.     In an attempt to silence Mr. Free, Mr. Kramer and Mr. Baucke each sent a

  sexually explicit GIFs/video directly to Mr. Free’s wife, Suzie Free, on her work cell phone.

         35.     From California, Mr. Kramer texted Suzie Free, who was in Nebraska at the time,

  the message: “Can you tell Ted to get out of the hot tub and go eat with us????” and sent a photo

  of a naked woman in a bathtub masturbating.

         36.     From California, Mr. Baucke texted Suzie Free, who was in Nebraska at the time,

  the message: “Ted’s still playing the water” and sent a photo of a woman being doused with

  water wearing a white low cut tank top, with her bare nipple exposed.



                                                    6
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 7 of 28




         37.     Mr. Baucke had never once texted Ms. Free before this date, and had never been

  given her cell phone number by Mr. Free, nor Suzie Free.

         38.     Mr. Free was not copied on Mr. Kramer’s and Mr. Baucke’s texts to Suzie Free;

  Mr. Free was informed of the texts only by Ms. Free.

         39.     Mr. Kramer sent the obscene text, and directed Mr. Baucke to send an obscene

  text, to Ms. Free as a threat to Mr. Free to stop comparing vendor pricing, which was threatening

  the end of Mr. Kramer’s receipt of personally beneficial kickbacks and gifts from BPE’s existing

  vendors (undisclosed to the BPE Board) in exchange for BPE paying inflated prices for its

  products.

         40.     Mr. Kramer sent the obscene text, and directed Mr. Baucke to send the obscene

  text, to Ms. Free, in furtherance of continuing his secret personally beneficial financial scheme.

  Falsifying Documents to Cover-up Undisclosed Personal Financial Benefits from Vendors

         41.     In December 2018, Patrick Denton, Strategic Account & Marketing Manager for

  Novozymes Bioenergy emailed Mr. Free the “Sterling Group Contract” which is a five-year

  Enzyme & Yeast Supply Agreement between Novozymes and SE, YE, and BPE.

         42.     Attached to the Novozymes Supply Agreement was the “Kramer Racing

  American Ethanol NHRA ProStock Sponsorship” agreement, which promised cash sponsorships

  ranging from $225,000 to $400,000 per year to “the American Ethanol #52 Kramer NHRA

  ProStock Drag Racing team” based on “total spend” for the “Sterling Group” of Novozymes

  products. Total customer spend with Novozymes was not permitted to drop below $8,000,000 in

  any single contracted year, but was expected to maintain around $10,000,000 annually.




                                                   7
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 8 of 28




         43.     The Kramer Racing American Ethanol NHRA ProStock Sponsorship agreement

  was signed by Defendant Kramer as President & Chairman of the Board, Sterling Ethanol, LLC,

  President & Chairman of the Board, Yuma Ethanol, LLC, President & Chairman of the Board,

  Bridgeport Ethanol, LLC, and Owner, Kramer Racing.

         44.     The Kramer Racing American Ethanol NHRA ProStock Sponsorship agreement

  was not disclosed to Mr. Free by Mr. Kramer, nor to the Board of Managers for BPE.

         45.     After receiving the Novozymes Supply Agreement and the Kramer Racing

  American Ethanol NHRA ProStock Sponsorship agreement from Mr. Denton, Mr. Free told Mr.

  Kramer that he needed to disclose this arrangement to the Board of Managers for BPE.

         46.     Mr. Free was told by Mr. Kramer that the Board was already aware of the

  arrangement, and it was all being handled by Mr. Kramer.

         47.     Upon information and belief, the Board for BPE had not been informed of the

  Kramer Racing American Ethanol NHRA ProStock Sponsorship agreement by Mr. Kramer. Mr.

  Free continued to insist Mr. Kramer disclose his personal financial interests and conflicts of

  interest to the Board.

         48.     On or about February 25, 2019, after continued insistence of self-disclosure by

  Mr. Free to Mr. Kramer, Mr. Kramer wrote a memo addressed to the Board of Directors for SE,

  YE, and BPE, which purported to disclose his Sterling Racing Team sponsorships. The memo

  listed five sponsors for 2019, which, upon information and belief, did not include all of Mr.

  Kramer’s race team sponsorships.

         49.     Attached to Mr. Kramer’s memo, among other items, was an altered American

  Ethanol NHRA ProStock Sponsorship agreement. The altered agreement was now signed by



                                                   8
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 9 of 28




  Mr. Kramer’s son, Deric Kramer, who was identified as the Owner of the Sterling Race Team.

  The date of Deric Kramer’s signature was the same date of Defendant Kramer’s signature on the

  original American Ethanol NHRA ProStock Sponsorship agreement sent to Mr. Free by

  Novozymes in December 2018, but Defendant Kramer’s name and various titles were entirely

  removed in the altered agreement.

         50.     Upon information and belief, Defendant Kramer fraudulently altered, using a

  computer connected to the internet, the American Ethanol NHRA ProStock Sponsorship dated

  September 5, 2018, for the purpose of defrauding SE, YE, and BPE’s Boards of Managers,

  BPE’s investors, and Mr. Free.

         51.     Mr. Kramer distributed, upon information and belief via mail and/or email, the

  falsified document, upon information and belief using a computer connected to the internet, in

  order to commit fraud and for his own personal financial benefit.

  Refusal to Allow Competitive Vendor and Supplier Selection

         52.     On another occasion, Mr. Free wanted to use a new yeast product at the BPE

  Plant. Mr. Free was offered a “trial” period to test out a new yeast product from a different

  supplier. At the time, Mr. Kramer had directed that BPE and the other two plants use Lallemand

  yeast in its production of ethanol.

         53.     Mr. Free ended up completing the “trial” period with the new yeast, and the

  results were substantially similar to results using Lallemand yeast, with the exception that the

  new yeast product resulted in fewer infections than the Lallemand yeast.

         54.     Mr. Free completed diligence in comparing prices of the two competing yeast

  products and discovered that using the new yeast would result in an annual savings, just for the



                                                   9
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 10 of 28




   purchase of yeast for the BPE plant, of $670,000, as compared to what BPE was paying to

   Lallemand.

          55.    Mr. Free informed Mr. Kramer that he was switching products immediately, due

   to the savings, and instructed Mr. Kramer that he should look into doing the same for SE and

   YE.

          56.    Mr. Kramer told Mr. Free that Mr. Free was not authorized to switch products for

   BPE and indicated that Mr. Kramer would take care of the issue himself. The next day, Mr.

   Kramer told Mr. Free that he spoke to Lallemand and that the new price for yeast for BPE

   through Lallemand would be discounted by $650,000, annually.

          57.    Mr. Kramer’s ability to obtain, overnight, an annual reduction in price of

   $650,000 confirmed that BPE had been grossly overpaying Lallemand for yeast for years, and

   even after being informed of the overcharging, at Mr. Kramer’s direction, continued to overpay

   Lallemand at least $20,000 annually as compared to competitive products.

          58.    Upon information and belief, Lallemand is a sponsor for Kramer’s personal car

   racing entities. Notably, Lallemand was not disclosed as a sponsor in Mr. Kramer’s February 25,

   2019 memo to the SE, YE, and BPE Boards.

          59.    In June 2020, in retaliation for Mr. Free’s due diligence regarding vendor pricing,

   products, and costs, Mr. Free’s Employment Agreement with CAP, dated February 1, 2009, was

   terminated via letter from CAP’s legal counsel.

          60.    The reason for termination of Mr. Free’s Employment Agreement was retaliation

   for Mr. Free reporting concerns about Mr. Kramer’s racing sponsorships and the undisclosed




                                                     10
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 11 of 28




   quid pro quo arrangements for cash sponsorships to the sole financial benefit of Defendant

   Kramer and his race car entities.

          61.     Mr. Free continued his employment as BPE’s General Manager on an at-will

   basis after his Employment Agreement was terminated by CAP.

          62.     Despite sabotage and intimidation tactics by Mr. Kramer and his various

   attorneys, Mr. Free continued to act in the best interests of BPE’s investors by researching and

   comparing competitive products and vendor pricing.

          63.     Mr. Free engaged in comparison studies at the BPE plant on various occasions. In

   early 2021, Mr. Kramer was fully aware that Mr. Free was conducting another comparison study.

   After the results of this latest study were in, however, Mr. Kramer told Mr. Free not to report the

   results to the Board.

          64.     Mr. Kramer knew that these particular study results would require BPE to switch

   to a vendor that did not provide a six-figure kickback sponsorship to Mr. Kramer’s personal

   racing companies.

          65.     Mr. Free was determined to report the study results and metrics to the Board, and

   sent the results to the BPE controller on May 18, 2021, for inclusion in the Board packet for the

   next Board meeting scheduled for May 25, 2021.

          66.     Mr. Free was fired the very next day, on May 19, 2021 (the events of May 19,

   2021, are described in detail, infra).

          67.     Mr. Kramer was fully aware that Mr. Free had planned to present the study

   findings to the Board on May 25, 2021.




                                                   11
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 12 of 28




          68.     On May 24, the day before the Board meeting, Mr. Kramer instructed BPE’s

   controller to remove the study results and metrics from the Board packet. Upon information and

   belief, Mr. Free’s study results were never presented to the Board.

   Forcing Mr. Free to Waste BPE’s Assets for Mr. Kramer’s Personal Benefit or to the Benefit of
   SE and YE, and to the Detriment of BPE’s Unique Investors

          69.     Another example of misconduct by Mr. Kramer during Mr. Free’s time as BPE’s

   General Manager is when Mr. Kramer went to an auction to buy a backhoe to use at his personal

   cabin in Wyoming. After he had the machinery and used it for about a year or two, he forced

   BPE to buy that same backhoe for the original amount Mr. Kramer purchased it for at auction

   years earlier. Mr. Free resisted because BPE did not need the backhoe and Mr. Kramer insisted,

   threatened Mr. Free’s employment, and forced the sale.

          70.     Similarly, YE and SE were constantly trading out parts with BPE. BPE would

   order new parts/units and SE and YE would take the new parts/units paid for by BPE and trade

   them out for old, re-furbished parts that barely worked. The new items were not paid for, just

   traded straight across new in exchange for old/refurbished parts. Mr. Free was sandbagged, and

   BPE investors were duped.

          71.     For example, a Natural Gas Odorizer machine was purchased by BPE when the

   plant was first being built, but ended up not being needed. BPE tried to return the item, but it

   was a special order so BPE kept it in storage in case SE or YE needed parts. Several years later,

   YE’s Odorizer broke down and YE ended up taking BPE’s brand-new unit (which was

   completely unused and intact). BPE sent an invoice to YE for the Odorizer. When Mr. Kramer

   found out about the invoice, he made BPE return the payment and told Mr. Free that he would

   send back the unit and replace any parts that had been harvested from BPE’s brand new


                                                   12
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 13 of 28




   Odorizer. When the Odorizer was eventually returned to BPE (about six months after the

   returned payment) the unit was trashed. Parts had been harvested, the unit was filthy dirty, and

   wires and hoses just hung off like it had been ravaged. No money was ever paid back to BPE for

   the Odorizer or any of its harvested parts.

          72.     In another instance, BPE bought brand new plates for its heat exchanger (about a

   $100,000 investment). Before the plates were installed during BPE’s maintenance turn-around

   shut-down, YE and SE both had their “shut-downs” and had failed to purchase heat exchanger

   plates for their plants. They called BPE and asked if they could use the brand-new ones. Mr.

   Free agreed on the condition that YE and SE buy the same brand new heat exchanger plates for

   BPE’s upcoming turn-around. When BPE received the replacement heat exchanger plates, not

   only were they not new, but they were not even professionally refurbished. The used exchanger

   plates had been barely cleaned and re-welded by SE and YE’s onsite maintenance team. When

   BPE placed these replacement plates into their systems, there was total failure.

                                      The Events of May 19, 2021

          73.     Mr. Free’s employment came to a dramatic end for him on May 19, 2021, when

   he was informed via text message he was fired, but only after (unbeknownst to him at the time),

   Mr. Kramer falsely reported to police that Mr. Free was armed, distraught, and stole a company

   vehicle, which resulted in a multi-county, multi-jurisdictional manhunt for Mr. Free.

          74.     Not one of the statements Mr. Kramer made to the police about Mr. Free was true,

   however, and Mr. Kramer knew his report was false when he made it.

          75.     Importantly, Mr. Kramer never informed Mr. Free that his employment was

   terminated until more than an hour after Mr. Kramer made his false report to police, reporting a



                                                   13
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 14 of 28




   lie that Mr. Free left the River City Grill in Sterling, Colorado, in a fit of anger after having been

   fired.

              76.   Mr. Kramer falsely and recklessly communicated to the Sterling Police that Mr.

   Free was first fired from his job, and then immediately after, committed a felony, all in a matter

   of minutes.

              77.   Mr. Free’s name and suspicion as a highly distraught, disgruntled, potentially

   armed man who stole a vehicle, was broadcast across no fewer than four separate cities and

   counties (Sterling, Colorado; Philips County, Colorado; Sidney, Nebraska; and Cheyenne

   County, Nebraska), and broadcast to BPE and CAP employees and co-workers, among others.

              78.   Mr. Free’s CAP and BPE co-workers and employees (many of whom he hired and

   supervised), were informed of Mr. Free’s termination even before Mr. Free was informed. Mr.

   Free’s reputation has been damaged to an irreparable level.

              79.   Mr. Kramer outright lied to Mr. Free about the purpose and nature of the lunch

   they were set to have on May 19, 2021.

              80.   Mr. Kramer knew when the lunch was set for that date that Mr. Free would have

   to miss his late sister-in-law’s memorial on the one-year anniversary of her death, that Ms. Free

   would be out of town to attend the memorial, and also that Mr. Free was on the backend of an

   illness.

              81.   In response to a direct question by Mr. Free ahead of the lunch, Mr. Kramer told

   Mr. Free that no one else was set to attend the lunch, where the stated plan was to talk about

   BPE’s plant projections.




                                                     14
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 15 of 28




          82.     Mr. Kramer and Mr. Free both agreed that Mr. Kramer would invite his wife and

   daughter to join the lunch.

          83.     Instead of what Mr. Free was expecting to be a light and social lunch with Mr.

   Kramer and his family, Mr. Free was greeted as soon as he walked into the restaurant by a man

   who he had never met, but who called Mr. Free by his name.

          84.     Mr. Free, being completely blindsided, confronted by a male stranger who was

   obviously there for Mr. Free, and processing that he had just been lured to this restaurant under

   false pretenses by Mr. Kramer, immediately turned around and left the restaurant.

          85.     Mr. Kramer told Mr. Free not to leave. Mr. Free, having no obligation or desire

   to stay in the ambush, promptly left.

          86.     Importantly, Mr. Free was not informed his employment was terminated before he

   left the restaurant, and he was never instructed by Mr. Kramer that we was not authorized to take

   the vehicle in which he had driven to Sterling from Haxtun (which was his company vehicle and

   his only means of transportation).

          87.     Suspiciously (in hindsight), before the lunch meeting on May 19, Mr. Kramer

   requested that Mr. Free pick up Mr. Kramer’s repaired firearm for him on the way to lunch. Mr.

   Kramer asked Mr. Free to do this favor for him, all the while knowing that he was lying to Mr.

   Free about the nature of the lunch meeting and would be firing Mr. Free that afternoon.

          88.     Mr. Kramer maliciously used this information – omitting that he specifically

   requested Mr. Free bring Mr. Kramer’s gun to him – to inform police that he had seen Mr. Free

   with a firearm earlier that day. Mr. Kramer knows that Mr. Free delivered Mr. Kramer’s gun to

   him at his request, they both walked upstairs to Mr. Kramer’s gun safe in his personal office, and



                                                   15
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 16 of 28




   Mr. Kramer locked the gun in the safe. This all happened prior to either party heading to the

   River City Grill for lunch.

          89.     Mr. Kramer conspired to set up Mr. Free on May 19, 2021, likely in order to gain

   leverage and in an attempt to justify Mr. Free’s termination which, in reality, was a retaliatory

   termination for Mr. Free’s plan to expose Mr. Kramer’s self-dealing, fraud, and racketeering

   activities to the investors and the BPE Board of Directors just six days later, on May 25, 2021.

                          Mr. Free’s Termination from CAP was Retaliatory

          90.     On May 19, 2021, the date Mr. Free was fired, Mr. Kramer was well aware of the

   case study and comparative metrics Mr. Free was prepared to present to the Board of Directors

   on May 25, 2021, which would put squarely at risk Mr. Kramer’s self-dealings and car racing

   sponsorships with existing vendors who were overcharging BPE, YE, and SE for product, to the

   sole benefit of Mr. Kramer’s personal endeavors and hobbies.

          91.     Mr. Free had been working to increase profits for investors by looking at

   competitive pricing for its vendors. In doing so, Mr. Free uncovered that Mr. Kramer had been

   entering into contracts with suppliers for BPE, YE, and SE to pay inflated prices for product,

   which would result in certain monetary levels of sponsorships (cash payments), directly to Mr.

   Kramer’s personal businesses and endeavors.

          92.     Mr. Kramer’s personal dealings and kickbacks from BPE, YE, and SE’s suppliers

   were never fully disclosed to the Board or to investors. Further, Mr. Kramer falsified records

   related to the Novozymes sponsorship of Kramer Racing, which falsified record was presented to

   the Board by Mr. Kramer as the original.




                                                    16
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 17 of 28




          93.      Additionally, after Mr. Kramer was confronted about sponsorships by BPE, YE,

   and SE’s vendors for his personal racing company by the Board, Mr. Kramer submitted a memo

   purporting to list all of the racing sponsorships to his personal enterprises. The egregious

   number of omissions from the list of sponsors constitutes a material misrepresentation by

   omission to the Board.

                       Continuing Harassment and Disparagement of Mr. Free

          94.      Mr. Kramer continues to disparage and harass Mr. Free. Mr. Free was informed

   by a credible source that Mr. Kramer was spreading the lie, in the close-knit Bridgeport

   community and in the greater ethanol industry, that Mr. Free sexually harassed BPE employee,

   Kathy Middleton.

          95.      Mr. Kramer knows the statement is untrue, which was confirmed untrue by CAP’s

   own legal counsel after an investigation.

                                FIRST CLAIM FOR RELIEF
    Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1962, et. seq., and
       Colorado Organized Crime Control Act (COCC), Colo. Rev. Stat. § 18-17-101, et. seq.
                                 (Against Defendant Kramer)

          96.      Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

          97.      By and through the conduct describe above, Defendant Kramer has engaged in

   racketeering activity and/or a pattern of racketeering activity, as defined in RICO and COCC.

          98.      Specifically, Mr. Kramer’s fraudulent altering of the Kramer Racing American

   Ethanol NHRA ProStock Sponsorship and subsequent distribution of the falsified document to

   the SE, YE, and BPE Boards, and to Plaintiff, constitutes a predicate racketeering activity under

   RICO and COCC, and constitutes mail and/or wire fraud.


                                                     17
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 18 of 28




           99.    Further, Mr. Kramer’s sending, and direction to Mr. Baucke to send, sexually

   explicit and obscene unsolicited texts and photos to Suzie Free on her cell phone, across state

   lines, in order to intimidate, threaten, and silence Mr. Free into not reporting kickbacks and not

   reporting suspicions of undisclosed personal financial benefit to Mr. Kramer to the Board,

   constitutes a predicate racketeering activity under RICO and COCC.

           100.   Mr. Kramer’s unsolicited obscene text messages and videos to Ms. Free constitute

   criminal stalking and harassment in Nebraska, where Ms. Free was located when the texts were

   received, and California, where Mr. Kramer was located when he sent the texts.

           101.   Upon information and belief, Mr. Kramer has engaged in additional predicate

   racketeering activity from which he has personally financially benefited, including falsifying

   additional documents related to undisclosed sponsorship deals with BPE, YE and SE’s vendors.

           102.   Plaintiff has been financially affected by Defendant Kramer’s RICO and COCC

   violations.

           103.   Mr. Free, as a profit-sharing employee of CAP, was personally affected by all

   conduct that decreased CAP’s profits – including Mr. Kramer’s decision to forgo competitively

   priced products for the benefit of cash sponsorships to his own personal companies and to line

   his own pockets.

           104.   The harm Plaintiff has suffered is a direct result of the above-alleged predicate

   acts.

           105.   Plaintiff seeks damages to be determined at trial, including but not limited to,

   compensatory damages, treble damages as allowed by statute, costs, attorneys’ fees, and pre- and

   post-judgment interest.



                                                   18
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 19 of 28




                                  SECOND CLAIM FOR RELIEF
                            Wrongful Discharge in Violation of Public Policy
                               (Against Defendants CAP and Kramer)

          106.     Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

          107.     As described above, Mr. Free continued to act in the best interests of BPE’s

   investors by researching and comparing competitive products, despite Mr. Kramer’s repeated

   insistence that Mr. Free blindly accept Mr. Kramer’s choices for vendors and suppliers that had

   substantially higher prices and were not competitive in the market in price or output.

          108.     Mr. Free understood that Mr. Kramer was intentionally overcharging BPE for

   products through vendors and suppliers in order to preserve Mr. Kramer’s personal cash

   kickbacks from those vendors and suppliers for Mr. Kramer’s personal car racing entities.

          109.     Mr. Free knew Mr. Kramer was intentionally misrepresenting the nature and

   details of his car racing sponsorship agreements to BPE’s Board and investors, which Mr. Free

   believed was unlawful.

          110.     Mr. Free completed a comprehensive study of comparison products in order to

   convince Mr. Kramer and the Board to switch to more competitively priced products for the

   benefit of BPE, all profit-sharers, the Board, and investors.

          111.     Mr. Kramer was fully aware that Mr. Free was conducting the study and upon

   information and belief, hoped the study would show Mr. Kramer’s selected vendors (which

   provided his personal kickbacks), had superior products and results.




                                                     19
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 20 of 28




          112.    After the results were in, Mr. Kramer told Mr. Free not to report the results to the

   Board. Mr. Kramer knew that the study results would require BPE to switch to a vendor that did

   not provide a six-figure kickback sponsorship to Mr. Kramer’s personal racing companies.

          113.    Mr. Free sent the study results and metrics to the controller on May 18, 2021, to

   be included in the Board packet for the meeting on May 25.

          114.    When Mr. Free was fired by Mr. Kramer the next day, on May 19, 2021, Mr.

   Kramer was fully aware that Mr. Free had planned to present the findings to the BPE Board in

   six days, on May 25, 2021.

          115.    On May 24, the day before the Board meeting, Mr. Kramer instructed BPE’s

   controller to remove the study results and metrics from the Board packet.

          116.    The close proximity in time between Mr. Free’s termination and his intention to

   report study results that would dismantle Mr. Kramer’s undisclosed funnel of kickbacks for his

   personal car racing teams, suggest that Mr. Kramer fired Plaintiff to silence him and prevent him

   from presenting his study results to the Board.

          117.    Mr. Free reasonably believed that Mr. Kramer’s conduct in obtaining undisclosed

   kickbacks for his personal financial benefit and actively falsifying records to cover up his

   conduct was unlawful.

          118.    Defendants knew or should have known that Plaintiff’s refusal to accept Mr.

   Kramer’s overpriced vendors in order to preserve his personal kickbacks undisclosed to the

   Board was based on Mr. Free’s reasonable belief that Mr. Kramer was acting unlawfully.




                                                     20
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 21 of 28




           119.    Defendants fired Mr. Free because Mr. Free refused to stay silent regarding Mr.

   Kramer’s insistence that BPE grossly overpay Mr. Kramer’s preferred vendors and suppliers, to

   the sole financial benefit of Mr. Kramer.

           120.    Defendants engaged in the above alleged conduct willfully, maliciously, and/or

   with reckless disregard to Plaintiff’s rights, beliefs, and feelings.

           121.    Plaintiff seeks damages to be determined at trial, including but not limited to

   backpay, economic and noneconomic damages, emotional distress, punitive damages, costs, and

   pre- and post-judgment interest.

                                   THIRD CLAIM FOR RELIEF
                                           Abuse of Process
                                (Against Defendants CAP and Kramer)

           122.    Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

           123.    As described above, Mr. Kramer’s false report on May 19, 2021, to Sterling

   Police, for the ulterior purpose of humiliation, disparagement, defamation of Mr. Free’s

   character, and intimidation, constitutes an egregious abuse of process.

           124.    Defendant Kramer, by and for CAP and for himself, intentionally falsely reported

   to police that Mr. Free was armed, distraught, and stole a vehicle, which resulted in a multi-

   county, multi-jurisdictional manhunt for Mr. Free.

           125.    The principal reason for Defendant Kramer’s action was other than to report a

   crime, because no crime had been committed by Mr. Free.

           126.    Mr. Free was not even informed he was fired by Mr. Kramer before Mr. Kramer

   reported to police that Mr. Free was fired and stole a vehicle.



                                                     21
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 22 of 28




           127.    Mr. Free did not steal his company vehicle. Mr. Free was never informed that he

   was not authorized to continue using the company vehicle at any time before it was reported

   stolen to police by Mr. Kramer.

           128.    Mr. Free has suffered severe emotional distress and his reputation has been

   irreparably damaged as a direct result of Mr. Kramer’s knowingly false police report on May 19,

   2021.

           129.    Plaintiff seeks damages based on Mr. Kramer’s false report in an amount to be

   determined at trial, including but not limited to, compensatory damages, damages for emotional

   distress, damages for loss of reputation, loss of enjoyment of life, punitive damages, and any

   other relief the Court deems just.

                                   FOURTH CLAIM FOR RELIEF
           Intentional Infliction of Emotional Distress by Extreme and Outrageous Conduct
                                (Against Defendants CAP and Kramer)

           130.    Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

           131.    As described above, Mr. Kramer, by and for CAP and for himself, made a false

   report on May 19, 2021, to Sterling Police, for the purpose of humiliation, disparagement,

   defamation of Mr. Free’s character, and intimidation.

           132.    Defendant Kramer engaged in conduct he knew, or should have known, would

   lead Plaintiff to suffer emotional distress.

           133.    Defendant Kramer engaged in conduct that a reasonable member of the

   community would regard as atrocious and beyond all bounds of decency, including by publically

   and falsely accusing Plaintiff of criminal conduct in the small communities in Colorado and



                                                     22
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 23 of 28




   Nebraska where Plaintiff and his wife live and work, and by submitting false information in

   pursuit of criminal charges.

          134.     Defendant Kramer knew that Plaintiff did not have a firearm when he reported to

   police that Mr. Free could be armed and stole a vehicle.

          135.     Defendant Kramer’s conduct was extreme and outrageous.

          136.     Mr. Kramer acted with reckless disregard for Plaintiff’s rights and feelings and

   with deliberate indifference to the certainty that Mr. Free would suffer emotional distress.

          137.     As a result of Mr. Kramer’s conduct, Plaintiff suffered emotional distress, fear for

   his personal safety, anguish, humiliation, loss of enjoyment of life, loss of reputation, and

   physical distress.

          138.     Plaintiff seeks damages to be determined at trial, including but not limited to

   compensatory damages, punitive damages, costs, and pre- and post-judgment interest.

                                      FIFTH CLAIM FOR RELIEF
                                              Slander Per Se
                                  (Against Defendants CAP and Kramer)

          139.     Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

          140.     As described above, on May 19, 2021, Defendant Kramer, by and for CAP and

   for himself, falsely reported to police that Mr. Free was fired from his job, potentially armed, and

   stole a vehicle, which resulted in a multi-county, multi-jurisdictional manhunt for Mr. Free.

          141.     Mr. Kramer’s statements on May 19, 2021, to Sterling Police were untrue.




                                                     23
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 24 of 28




          142.    Mr. Kramer published his false statements to others in the vicinity, and his

   statements were republished to additional law enforcement dispatchers, agencies, officers, Suzie

   Free, CAP and BPE employees, managers, directors, OnStar technicians, and others.

          143.    Mr. Kramer knew his statements were untrue and he made the statements with

   reckless disregard as to whether they were false.

          144.    Mr. Kramer’s statements imputed to Mr. Free the commission of a crime and

   were therefore slanderous per se.

          145.    Further, Mr. Kramer continues to disparage Mr. Free by spreading an additional

   lie in the close-knit Bridgeport community and in the greater ethanol industry that Mr. Free

   sexually harassed BPE employee, Kathy Middleton.

          146.    Mr. Kramer knows the statement is untrue and was confirmed untrue by CAP’s

   own legal counsel after an investigation.

          147.    Mr. Kramer’s statements impute to Mr. Free unchastity and defame Mr. Free in

   Mr. Free’s trade, business, and profession and are therefore slanderous per se.

          148.    Mr. Kramer’s statements are untrue.

          149.    Mr. Kramer knew his statements were untrue and made the statements with

   reckless disregard as to whether they were false.

          150.    Plaintiff seeks damages to be determined at trial, including but not limited to

   damages for loss of reputation, emotional distress, physical and mental pain and suffering,

   inconvenience, fear, anxiety, embarrassment, humiliation, loss of enjoyment of life, punitive

   damages, costs, and pre- and post-judgment interest.




                                                   24
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 25 of 28




                                     SIXTH CLAIM FOR RELIEF
                                         Promissory Estoppel
                                       (Against Defendant CAP)

           151.    Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

           152.    As set forth above, during his time as BPE’s General Manager, Mr. Free had built

   BPE into one of the safest, most reliable, profitable, and efficient ethanol plants in the nation.

           153.    As a result of his hard work, dedication, and objectively outstanding results with

   BPE, Mr. Free’s value to BPE caused CAP co-owner and Manager, William Bornhoft, to request

   Mr. Free move to Colorado from Nebraska to be closer to the SE and YE plants.

           154.    Mr. Free was persuaded to purchase real property in Colorado and he was

   promised his investment would benefit him because he would eventually take over the

   management of all three Sterling Ethanol Group plants, and should therefore be present in a

   location central to the three plants.

           155.    Mr. Free and his family would never have purchased property in Haxtun,

   Colorado without the explicit promise of growth within CAP by CAP’s Manager.

           156.    Mr. Free and his wife purchased a property in Haxtun, Colorado, where they had

   no family or friends, in reliance on CAP’s promises that Mr. Free would eventually take over

   management of SE, YE, and BPE.

           157.    CAP breached its promise to Mr. Free when it allowed Mr. Kramer to terminate

   Mr. Free’s employment for retaliatory and unlawful reasons.




                                                     25
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 26 of 28




              158.   As a result of CAP’s conduct, Mr. Free has been damaged in an amount to be

   determined at trial, including but not limited to, compensatory damages and such other and

   further relief as the Court deems just and equitable.

                                     SEVENTH CLAIM FOR RELIEF
                                                Civil Theft
                                       (Against Defendant Kramer)

              159.   Plaintiff incorporates by reference all allegations set forth above, as if fully set

   forth herein.

              160.   Mr. Free, as a profit-sharing employee of CAP, was personally affected by all

   conduct that decreased CAP’s profits – including Mr. Kramer’s personally beneficial decision to

   forgo competitively priced products for the benefit of cash sponsorships to his own car racing

   companies and to line his own pockets.

              161.   As a profit-sharing employee of CAP, Plaintiff has a possessory interest in the

   profits of CAP.

              162.   As set forth above, Defendant Kramer knowingly exercised possession and

   control over CAP’s profits without authorization, by deception, and in such a way that it is

   obvious he intended to permanently deprive Plaintiff and other intended profit-sharers, of those

   profits.

              163.   As a direct and proximate result of Kramer’s wrongful, improper, and/or

   deceptive actions, Plaintiff has been deprived of his property and has sustained damages.

              164.   Plaintiff seeks damages to be determined at trial, including but not limited to,

   compensatory damages, treble damages as allowed by statute, costs, attorneys’ fees, and pre- and

   post-judgment interest.



                                                       26
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 27 of 28




                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays for judgment against Defendants Kramer

   and CAP as follows:

         a.        Compensatory, incidental, and consequential damages;

         b.        Economic damages;

         c.        Non-economic damages for emotional distress, pain and suffering, inconvenience,

         mental anguish, loss of reputation, loss of enjoyment of life, and other non-pecuniary

         losses;

         d.        Equitable and make-whole damages;

         e.        Statutory and treble damages as permitted by law and applicable statute;

         f.        Punitive damages as permitted by law and to be determined at trial;

         g.        Reasonable attorneys’ fees and costs;

         h.        Pre- and post-judgment interest; and

         i.        Such other and further relief as the Court deems equitable, just, and proper.




                                                    27
Case 1:21-cv-03080-WJM-KLM Document 1 Filed 11/16/21 USDC Colorado Page 28 of 28




   Respectfully submitted this 16th day of November, 2021.

                                                  By:    /s/ Leah P. VanLandschoot
                                                         Leah P. VanLandschoot, #35723
                                                         Amy M. Maestas, #46925
                                                         THE LITIGATION BOUTIQUE LLC
                                                         1720 S. Bellaire Street, Suite 520
                                                         Denver, Colorado 80222
                                                         T: 303.355.1942
                                                         F: 303.355.2199
                                                         lvanlandschoot@thelitbot.com
                                                         amaestas@thelitbot.com

                                                         ATTORNEYS FOR PLAINTIFF
                                                         EDWARD (TED) FREE
          Plaintiff’s Address:
          2860 Club House Dr.
          Gering, NE 69341




                                                28
